                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                               5:05CV215-1-V
                               5:03CR20-13-V



MARTY DOUGLAS MARTIN,           )
                                )
           Petitioner,          )
                                )
v.                              )                      ORDER
                                )
UNITED STATES OF AMERICA,       )
                                )
           Respondent.          )
________________________________)


      THIS MATTER comes before the Court for an initial review of Petitioner’s Motion

to Vacate, Set Aside, or Correct Sentence, filed June 23, 2005.

      On or about August 6, 2001, Petitioner was one of fourteen individuals named in

a two count indictment. Count One charged that Petitioner, and others, had conspired

to possess with intent to distribute a quantity of methamphetamine in violation of 21

U.S.C. § 846. Count Two charged that Petitioner possessed with intent to distribute a

quantity of methamphetamine in violation of 21 U.S.C. § 841(a). On February 4, 2004,

Petitioner entered a “straight up” guilty plea at his Rule 11 hearing. On November 2,

2004, after granting the Government’s motion for a downward departure, the Court

sentenced Petitioner to 41 months imprisonment on each count to be served

concurrently. The Court also pronounced, in accordance with a directive from the




   Case 5:03-cr-00020-KDB-SCR         Document 318      Filed 09/29/05    Page 1 of 6
Fourth Circuit,1 an alternative, provisional sentence of 31 months concurrent on each

count to be imposed “in the event the Federal Sentencing Guidelines are ultimately

invalidated by final action of the U.S. Supreme Court.” Petitioner did not directly

appeal his sentence or conviction to the United States Court of Appeals for the Fourth

Circuit.

       On June 23, 2005, Petitioner filed the instant Motion to Vacate, Set Aside, or

Correct Sentence alleging that he had received ineffective assistance of counsel when

his attorney advised him there was no need to appeal because his provisional sentence

would be self-executing. In support of his argument, Petitioner attaches a candid letter

from his attorney in which his attorney informs him that he provided him with ineffective

assistance when he erroneously advised him that if the Supreme Court found the

mandatory application of the Sentencing Guidelines to be wrong, his alternative,

provisional sentence would automatically be activated.

       Petitioner’s contention that he received ineffective assistance of counsel is

governed by the holding in Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In

Strickland, the Supreme Court held that in order to succeed on an ineffective

assistance of counsel claim, a petitioner must establish that counsel’s performance was



       1
         In United States v. Hammoud, 381 F.3d 316 (4th Cir. 2004)(en banc), the United
States Court of Appeals for the Fourth Circuit instructed the district courts to continue
sentencing defendants in accordance with the guidelines but to also announce, at the
time of sentencing, a sentence pursuant to 18 U.S.C.A. § 3553(a) treating the
guidelines as advisory only. The Fourth Circuit stated that announcing – but not
imposing – a non-guidelines sentence at the time of sentencing would serve judicial
economy in the event the Supreme Court concludes that Blakely significantly impacts
guidelines sentencing.

                                            2


    Case 5:03-cr-00020-KDB-SCR        Document 318       Filed 09/29/05   Page 2 of 6
constitutionally defective to the extent it fell below an objective standard of

reasonableness, and that he was prejudiced thereby, that is, there is a reasonable

probability that but for the error, the outcome would have been different. In making this

determination, there is a strong presumption that counsel’s conduct was within the wide

range of reasonable professional assistance. Id. at 689; Fields v. Attorney General of

Md., 956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865 (1995). Petitioner

bears the burden of proving Strickland prejudice. Fields, 956 F.2d at 1297. If the

petitioner fails to meet this burden, a “reviewing court need not consider the

performance prong.” Id. at 1290.

       Petitioner’s sentence was pronounced during a time of great upheaval in the law

concerning criminal sentencing. Moreover, at the time of Petitioner’s sentencing, the

Supreme Court had granted certiorari in the Booker/Fanfan case. As such, this Court

holds that Petitioner’s counsel’s action of not appealing Petitioner’s sentence was

ineffective. Had Petitioner filed an appeal he would likely have received the lower

alternative, provisional sentence announced by the Court at his sentencing hearing, or

at a minimum, a new sentencing hearing. As such, he was prejudiced by his counsel’s

actions.

       THEREFORE, IT IS HEREBY ORDERED that:

       1. Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence is GRANTED;

       2. Petitioner’s criminal judgment is vacated due to his attorney’s ineffective

assistance of counsel; and

       3. The Clerk is directed to prepare a new criminal judgment imposing the same


                                             3


   Case 5:03-cr-00020-KDB-SCR          Document 318       Filed 09/29/05     Page 3 of 6
sentence and the same conditions to the end that Petitioner will be able to file a direct

appeal from the new Judgment within the allowable time limits (ten days from the time

the new Judgment is filed with the clerk of Court) thereby achieving the same result he

would have if his attorney had been effective.




                                            4


   Case 5:03-cr-00020-KDB-SCR         Document 318       Filed 09/29/05    Page 4 of 6
                     Signed: September 29, 2005




                                 5


Case 5:03-cr-00020-KDB-SCR   Document 318   Filed 09/29/05   Page 5 of 6
                                 6


Case 5:03-cr-00020-KDB-SCR   Document 318   Filed 09/29/05   Page 6 of 6
